                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                      CIVIL NO. 3:18CV646

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )
                v.                                   )        COMPLAINT FOR
                                                     )       FORFEITURE IN REM
APPROXIMATELY $252,140.00 IN US                      )
CURRENCY SEIZED FROM DARREN                          )
LENNARD COLEMAN ON JUNE 27, 2016                     )
AT CHARLOTTE-DOUGLAS                                 )
INTERNATIONAL AIRPORT,                               )
                                                     )
                       Defendant.                    )


       NOW COMES the United States of America, Plaintiff herein, by and through R. Andrew

Murray, United States Attorney for the Western District of North Carolina, in a civil cause of

forfeiture, and respectfully states the following:



                                        INTRODUCTION

       1.       This is a civil action in rem against approximately $252,140.00 in United States

Currency (also identified herein as “the Currency”) seized from Darren Lennard Coleman

(“Coleman”) as he passed through the Charlotte-Douglas International Airport.

       2.       This civil action is brought against the Currency because the Currency constitutes

money furnished or intended to be furnished by any person in exchange for a controlled substance

or listed chemical in violation of 21 U.S.C. §§ 841 and/or 846, proceeds traceable to such an

exchange, and/or money used or intended to be used to facilitate a violation of 21 U.S.C. §§ 841

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and/or 846, and is therefore subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6). Moreover,

the Currency constitutes property involved in a transaction or attempted transaction in violation of

18 U.S.C. § 1960, or any property traceable to such property, and is therefore subject to forfeiture

pursuant to 18 U.S.C. § 981(a)(1)(A).

        3.       Procedures for this action are mandated by 21 U.S.C. § 881, 18 U.S.C. §§ 981, 983,

and 984, 19 U.S.C. §§ 1602-1621, and, to the extent applicable, the Federal Rules of Civil

Procedure and accompanying Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions.

        4.       This Court has jurisdiction over this matter by virtue of 28 U.S.C. §§ 1345 and

1355.

        5.       This Court has venue in this matter pursuant to 28 U.S.C. § 1395.

        6.       The Currency was seized within and is now within the Western District of North

Carolina.

        7.       Based on the following facts, verified by Department of Homeland Security,

Homeland Security Investigations (“HSI”) Special Agent William V. Bass, II, this action seeks the

forfeiture of all right, title, and interest in the Currency.



                       TSA IDENTIFIES CURRENCY IN ATLANTA GA

        8.       On June 27, 2018, U.S. Transportation Safety Administration (“TSA”) officers in

Atlanta, Georgia discovered a large amount of U.S. currency during a screening of Coleman’s

carry-on bag at the Atlanta-Hartsfield-Jackson International Airport. Coleman informed TSA

officers that he had received the currency from a fundraiser in Atlanta, Georgia, held for a non-

profit organization that builds homes in Africa. Once TSA screening was complete, Coleman
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boarded a flight to the Charlotte-Douglas International Airport, with a final destination to San

Francisco, California. TSA in Atlanta contacted law enforcement at the Charlotte-Douglas

International Airport about Coleman.



     INITIAL ENCOUNTER BETWEEN LAW ENFORCEMENT AND COLEMAN
            AT CHARLOTTE-DOUGLAS INTERNATIONAL AIRPORT

       9.       On June 27, 2018, based on information obtained from TSA Atlanta, officers from

the Charlotte-Mecklenburg Police Department (“CMPD”) and HSI Task Force Officers (“TFO”)

met Coleman at a concourse of the Charlotte-Douglas International Airport as Coleman exited his

flight from Atlanta, Georgia. Officers approached Coleman and asked if they could speak with

him, indicating that they wished to discuss the large amount of U.S. Currency in his possession.

       10.      Coleman agreed to speak with the officers and produced a letter for the officers to

review. The letter contained a logo for the Office of the International Human Rights Commission

(“IHRC”) and was signed by R.S. Shumake, (“Shumake”), Ambassador at Large. The letter

stated that Coleman was transporting $150,000 to be used in Africa and the Caribbean.

       11.      According to Coleman, Shumake had hired Coleman to transport the currency from

Atlanta to San Francisco, California. Coleman told officers that he had met with Shumake at the

Ritz-Carlton Hotel in Atlanta, Georgia, to pick up the currency. He stated that he intended to

deliver the currency to a “guy” in San Francisco and that he would only be staying in San Francisco

for a few hours before flying back. Coleman was unable to provide officers with the name or

phone number of the “guy” he intended to meet in San Francisco and stated that, after he landed

in San Francisco, he was supposed to contact Shumake to receive further instructions. Travel



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records indicated that Coleman would only stay in San Francisco for a matter of hours before

returning to Atlanta.

                            K9 CIRO ALERTS TO NARCOTICS

       12.     Upon law enforcement contact with Coleman, a Pineville, North Carolina Police

Department (“PPD”) canine officer used his canine, Ciro, to conduct a sniff of the outside of each

of Coleman’s bags, which included the carry-on suitcase and backpack. Ciro alerted to the odor

of narcotics on both the carry-on suitcase and the backpack.



          COLEMAN AND SHUMAKE SPEAK WITH LAW ENFORCEMENT
            AND REVEAL THAT THEY ARE TRANSMITTING MONEY
            AND ARE NOT A LICENSED MONEY SERVICE BUSINESS

       13.     Coleman agreed to continue to speak with officers in the Airport Law Enforcement

Office (ALEO). While en route to the ALEO, Colman contacted Shumake on Coleman’s phone

and handed his phone to TFO Brown. TFO Brown spoke with Shumake, who stated that he had

given Coleman the Currency in Atlanta and instructed him to transport it on Shumake’s behalf to

San Francisco. Shumake further stated that he planned to meet Coleman in San Francisco to

retrieve the cash. When officers asked Shumake why he would have Coleman transport the cash

to San Francisco for Shumake when Shumake was headed from Atlanta to San Francisco himself.

Shumake stated that he did not want to fly with a large amount of cash.

       14.     Coleman admitted that he had previously travelled with cash for Shumake on

several occasions to San Francisco and other destinations, transporting between $20,000.00 and

$30,000.00 in U.S. Currency each trip. Coleman further admitted that Shumake paid him to

transport the money on his behalf.


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       15.     Both Coleman and Shumake informed officers that they were not licensed as a

money transmitting service. Investigation subsequent to the seizure detailed below revealed that,

according to the State of North Carolina Office of the Commissioner of Banks, neither Shumake

nor Coleman have applied or received licenses in the State of North Carolina as money

transmitters. Further, Financial Crimes Enforcement Network (“FINCEN”) database checks did

not reveal any record of registration by Shumake or Coleman as money transmitters.



                       OFFICERS SEARCH COLEMAN’S LUGGAGE

       16.     Once they arrived at the ALEO, Coleman consented to a search of his luggage.

       17.     Upon opening Coleman’s suitcase, officers discovered, among other items, the

following:

               a.      A small pack with a red plastic bag inside which contained a large amount

                       of U.S. currency. Once the bag was open, an officer detected a strong odor

                       of marijuana from the bag.

               b.      A Nike shoe box which held more plastic bags of currency.

The currency seized from the suitcase totaled $250,000.

       18.     Coleman informed officers that a backpack in his possession also contained

approximately $2,000.00 in U.S. currency. When officers searched the backpack they discovered

a white money belt at the bottom of the backpack. The money belt contained $2,140 in currency.

       19.     In total, the currency identified in the suitcase and backpack constitutes the

Currency identified for forfeiture herein.




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       20.     The Currency in Coleman’s possession ranged in denominations of one dollar bills

to hundred dollar bills. The Currency was held together with various multi-colored rubber bands.

The Currency was packaged in a manner and in denominations consistent with drug trafficking.



                      SHUMAKE ADVISES THAT THE CURRENCY
                  IS DERIVED FROM A TWO-PERSON “FUNDRAISER”
                   AND THAT HE IS AN AMBASSADOR ENTITLED TO
                             DIPLOMATIC IMMUNITY

       21.     Coleman phoned Shumake a second time, and Shumake told officers that the

currency had been collected during an IHRC fundraiser he held the day before at the Ritz-Carlton

in Atlanta. When officers asked Shumake if the hotel would have a record of the IHRC fundraiser,

Shumake stated that the hotel would have a record of him staying there, but that the fundraiser had

been held in his hotel room. Shumake further stated that “just two guys” had attended the

fundraiser and donated the currency being transported by Coleman.

       22.     Shumake informed officers that he routinely transported large amounts of U.S.

currency overseas for his organization and never reports the currency, since, as an ambassador, he

was accorded diplomatic immunity. Shumake told officers that he was a U.S. citizen.

       23.     Based upon the information which had been developed, HSI seized the Currency

on June 27, 2016. Officers conducted a trace detection of the Currency using an Ion Scan 500DT.

The Currency, the plastic bags and the interior of the black suitcase all tested positive for cocaine.



                         DEPARTMENT OF STATE CONFIRMS
                       THAT SHUMAKE IS NOT AN AMBASSADOR

       24.     According to the U.S. Department of State (“DOS”), Office of Foreign Missions,

in Washington, D.C., as of September, 2015, Shumake, who was at some point before but is no
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longer an honorary consul for two different countries, is not a recognized ambassador for any

organization and Coleman has never registered with the DOS as a member of a foreign mission.



                       OTHER CRIMINAL AND FORFEITURE
                CASES IMPLICATE SHUMAKE IN ILLEGAL ACTIVITY

       25.     Law enforcement has identified numerous state criminal cases and news stories

involving Shumake and/or an apparent alias of Shumake. For example, in 1991, Shumake was

charged in Georgia state court with felony counts of financial transaction card theft; in 2016,

Shumake was charged in California with felony possession of marijuana for sale and with

possession of money over $100,000.00; and, according to news reports and public records on

Michigan filings, in 2018, Shumake was charged in Michigan with, among other counts, felony

counts of obtaining money under false pretenses.

       26.     In addition, other federal forfeiture cases throughout the country implicate

Shumake. For example, the Department of Homeland Security is currently in receipt of an

administrative forfeiture petition from Shumake for $170,130.00 in U.S. currency seized at the

Atlanta Hartsfield-Jackson International Airport from a courier hired by Shumake, purportedly to

transport currency for the IHRC. Shumake has also filed a claim for currency that is the subject

of a civil complaint in the Central District of California (CDCA Case 2:18cv670). The CDCA

Complaint was filed against $148,145.00 in U.S. currency seized at the Los Angeles International

airport by special agents with the Federal Bureau of Investigation and the Drug Enforcement

Administration. That Complaint alleges that the currency seized represents or is traceable to

proceeds of illegal narcotics trafficking in violation of 21 U.S.C. § 841. The courier in that case



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claimed that he was a lawyer representing Shumake who was an IHRC Ambassador to the United

States.



                LAW ENFORCEMENT HAS NOT IDENTIFIED LEGITIMATE
                          EMPLOYMENT FOR COLEMAN

          27.    Law enforcement has not identified any federal information to suggest that

Coleman, the apparent courier of the Currency, is legitimately employed.



          LAW ENFORCEMENT HAS IDENTIFIED A BUSINESS DOCUMENT ON
            INVOLVEMENT OF SHUMAKE IN CONTROLLED SUBSTANCES

          28.    Law enforcement is, however, in possession of a purported “Letter of Intent”

dated June 29, 2018, and signed by Robert Shumake, involving a transaction among the Robert

S. Shumake Living Trust and other entities in regard to a multi-million dollar California farm

used to cultivate marijuana, a controlled substance.



                              ADMINISTRATIVE FORFEITURE

          29.    Following the seizure at Charlotte-Douglass Airport, Department of Homeland

Security, Customs and Border Patrol (“CBP”) initiated an administrative forfeiture action against

the Currency. Robert Shumake filed a claim for the Currency. The United States files this

Complaint in response to the claim.




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                                         CONCLUSION

       30.     By virtue of the foregoing, all right, title, and interest in the Currency vested in the

United States at the time of the commission of the unlawful act giving rise to forfeiture, 21 U.S.C.

§ 881(h), and has become and is forfeitable to the United States of America.



       WHEREFORE, the United States of America respectfully prays the Court that:

       (1) a warrant for the arrest of the Defendant be issued;

       (2) due notice be given to all parties to appear and show cause why the forfeiture should

       not be decreed;

       (3) judgment be entered declaring the defendant to be condemned and forfeited to the

       United States of America for disposition according to law; and

       (4) the United States be granted such other and further relief as this Court may deem just

       and proper, together with the costs and disbursements of this action, including but not

       limited to the expenses of maintenance and protection of defendant property as required by

       28 U.S.C. § 1921.



       Respectfully submitted this 3rd day of December, 2018.

                                              R. ANDREW MURRAY
                                              UNITED STATES ATTORNEY

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